

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-78,797-01






DAVID LEE HANKINS, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 1303375-A and 1305804-A IN THE 230th DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for a writ of habeas corpus in
the 230th District Court of Harris County, that more than 35 days have elapsed, and that the
applications have not yet been forwarded to this Court.

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus applications, submitting a copy of a timely filed order which designates issues to be
investigated (see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that
Relator has not filed applications for a writ of habeas corpus in Harris County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas applications shall also be submitted with the response.  This application for leave to file
a writ of mandamus shall be held in abeyance until Respondent has submitted the appropriate
response.  Such response shall be submitted within 30 days of the date of this order.



Filed: January 9, 2013

Do not publish	


